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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                                               CRIMINAL DOCKET

VERSUS                                                                 NO. 09-373

EARL JOHNSON                                                           SECTION “K”



                                      ORDER AND OPINION



       Before the Court is the “Motion Seeking Retroactive Application of the Fair Sentencing Act

of 2010” filed on behalf of defendant Earl Johnson (Doc. 222). Having reviewed the pleadings,

memoranda, and relevant law, the Court, for the reasons assigned, DENIES the motion.

       On November 6, 2009, a federal grand jury indicted Earl Johnson on one count of

conspiracy to possess with intent to distribute fifty grams or more of cocaine base and cocaine

hydrochloride as well as a quantity of heroin and marijuana, in violation of 21 U.S.C. §§ 841(a)(1),

841(b)(1)(A), (C), and (D) all in violation of 21 U.S.C. § 846. The grand jury also indicted Earl

Johnson on one count of possession with intent to distribute five grams or more of cocaine base

and a quantify of cocaine hydrochloride and marijuana in violation of 21 U.S.C. § 841(a)(1),

841(b)(1)(B), (C), (D), and 18 U.S.C. §2, as well as one count of using a communication facility,

to wit: a telephone, in committing, causing or facilitating the commission of a violation of 21 U.S.C.

§846, to wit: the conspiracy to possess with intent to distribute cocaine base, cocaine hydrochloride,

heroin, and marijuana, in violation of 21 U.S.C. 843(b). Thereafter, the government filed a

superseding bill of information to establish that defendant had a prior felony state conviction for

distribution of cocaine. (Doc. 38).
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       On May 12, 2010, Earl Johnson pleaded guilty to the count of the indictment charging

possession with intent to distribute five grams or more of cocaine base and a quantity of

cocaine hydrochloride and marijuana and to the count charging using a communication facility in

committing, causing or facilitating the commission of the conspiracy to possess with intent to

distribute cocaine base, cocaine hydrochloride, heroin, and marijuana. Additionally, defendant

admitted his prior felony drug conviction which allows that prior conviction to be used to enhance

his sentence pursuant to 21 U.S.C. § 841(b)(1)(B) and §851.

        Based on defendant’s admission that at least 5 grams of cocaine base was involved in his

conviction for possession with intent to distribute cocaine base, cocaine hydrochloride, and

marijuana, § 841(b)(1)(B), as written at the time committed that offense, provided for a mandatory

minimum term of imprisonment of 5 years and a maximum term of imprisonment of forty (40) years

on that count. Additionally, defendant’s prior felony drug conviction triggered a sentencing

enhancement that mandated a minimum term of imprisonment of ten (10) years and a maximum

term of life imprisonment on each count.

       After the grand jury indicted defendant, but prior to the time he pleaded guilty, Congress

passed, and the President signed, the Fair Sentencing Act of 2010, Pub. L. 111-220, 124 Stat. 2372

(2010) (herein after “FSA”).1 The FSA raised the threshold amount of cocaine base necessary to

activate a mandatory minimum term of imprisonment under §841(b)(1)(B) from 5 grams of a

mixture containing cocaine base to 28 grams of such a mixture. Thus, if the FSA applies

retroactively no mandatory minimum term of imprisonment will apply to Mr. Johnson, and he will




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           The President signed the FSA on August 3, 2010.

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face a lesser maximum term of imprisonment.2

                                      LAW AND ANALYSIS

       The issue to be determined is whether the FSA applies to a defendant who committed an

offense prior to the FSA’s enactment but who will be sentenced after its enactment. The FSA does

not contain any express provision addressing whether it applies retroactively to a defendant who

committed a covered offense prior to its enactment. The general federal Savings Statute provides:

               The repeal of any statute shall not have the effect to release or
               extinguish any penalty . . . unless the repealing Act shall so expressly
               provide, and such statute shall be treated as still remaining in force
               for the purpose of sustaining any proper action or prosecution for the
               enforcement of such penalty[.]

1 U.S.C. §109. It is well established that the Savings Statute applies not only to the repeal of a

criminal statute but also to the amendment of a criminal statute. United States v. Bell, 624 F.3d 803,

814 (7th Cir. 2010); United States v. Jacobs, 919 F.2d 10, 11-13 (3rd Cir. 1990).

       The Fifth Circuit Court of Appeals has not yet addressed whether the FSA applies

retroactively to a defendant who committed an offense prior to its enactment. However, without

exception, other courts of appeal have concluded that the FSA does not apply to criminal conduct

which occurred before the enactment of the FSA. United States v. Reed, No. 10-6049, 2010 WL

5176818, at *4 (10th Cir. December 22, 2010; United States v. Reevey, No. 10-1812, 2010 WL

5078239, at *3-4 (3rd Cir. December 14, 2010); United States v. Wilson, No. 10-4160, 2010 WL

4561381, at **2 (4th Cir. November 12, 2010); United States v. Hall, No. 09-10216, 2010 WL

4561363, at *3 (9th Cir. November 10, 2010); United States v. Glover, No. 09-1725, 2010 WL


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         Under the provisions of the FSA, the maximum sentence for a § 841(a)(1) offense
involving less than 28 grams of cocaine base is twenty (20) years; with an enhancement under
§851, the maximum sentence would be thirty (30) years.

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4250060, at *2 (2nd Cir. October 27, 2010); United States v. Bell, No. 09-3908, 2010 WL 4103700,

at *10 (7th Cir. October 20, 2010); United States v. Brown, No. 10-1791, 2010 WL 3958760, at *1

(8th Cir. October 12, 2010); United States v. Gomes, No. 10-11225, 2010 WL 3810872, at *2 (11th

Cir. October 1, 2010); United States v. Carradine, No. 08-3220, 2010 WL 3619799, at *12-13 (6th

Cir. September 20, 2010). In each of cited cases, except United States v. Hall, the appellate panel

concluded that the FSA did not apply retroactively and grounded that conclusion on the Savings

Statute and the fact that the FSA contained no provision for retroactivity.3 That reasoning is

compelling.

       Congress had knowledge of the provisions of the Savings Statute and knew that the Savings

Statute applied not only to repeals of statutes but also to amendments to criminal statutes.

Moreover, Congress knew how to ensure retroactive application of the Act and yet failed to include

such language in the FSA. Defendant cites the act’s legislative history of as well as the United

States Sentencing Commission’s “well documented long standing criticism of the harsh federal

crack cocaine laws” in contending that “Congress expected and intended for its newly enacted

legislation the FSA to be applied to all pending cases as soon as possible.” Doc. 221-1, p. 4.

Considering Congress’s knowledge of the Savings Statute and the failure of Congress to expressly

provide for retroactivity of the FSA, defendant’s contention is not persuasive. The Fair Sentencing

Act does not apply retroactively to a criminal conduct that occurred before its enactment.

Accordingly,




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         In United States v. Hall, No. 09-10216, 2010 WL 4561363, at *3 (9th Cir. November 10,
2010), the panel simply stated that “the new legislation is not retroactive.”

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defendant’s motion is DENIED.

      New Orleans, Louisiana, this 4th day of January, 2011.


                                                     STANWOOD R. DUVAL, JR.
                                                  UNITED STATES DISTRICT JUDGE




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